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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                §
In re:                                          §       Chapter 11
                                                §
CORE SCIENTIFIC, INC., et al.,                  §       Case No. 22-90341 (DRJ)
                                                §
                                                §       (Jointly Administered)
                 Debtors. 1                     §
                                                §

                  NOTICE OF AMENDED AGENDA OF MATTERS SET FOR
                   HEARING ON JANUARY 23, 2023 AT 12:00 P.M. (CST)

                 The above-referenced debtors and debtors in possession (collectively,

the “Debtors”) hereby file their Amended Agenda of Matters Set for Hearing on January 23, 2023

at 12:00 p.m. (CST) before the Honorable David R. Jones. The hearing will be conducted in

Courtroom 400, 4th floor, 515 Rusk Avenue, Houston, TX 77002. You may participate in the

hearing by an audio and video connection. The audio communication will be by use of the Court’s

dial-in facility. You may access the facility at 832-917-1510 and enter the conference code

205691. The video communication will be by use of the Gotomeeting Platform. Connect via the

free Gotomeeting Application or click the link on Judge Jones’s home page. The meeting code is

“judgejones.” Click the settings icon in the upper right corner and enter your name under the

personal information setting.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc.
    (3837); Core Scientific Acquired Mining LLC (N/A); Core Scientific Operating Company
    (5526); Radar Relay, Inc. (0496); Core Scientific Specialty Mining (Oklahoma) LLC (4327);
    American Property Acquisition, LLC (0825); Starboard Capital LLC (6677); RADAR LLC
    (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions,
    VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs
    Road, Suite 300, Austin, Texas 78704.
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I.   UNCONTESTED MATTERS:

       1. Emergency Motion of Debtors for Entry of Interim and Final Orders (I)
          Authorizing Debtors to Pay (A) Critical Vendor Claims and (B) Lien Claims;
          and (II) Granting Related Relief (ECF No. 4)

          Status:          This matter is going forward on an uncontested basis.

          Related Documents:

          A.        Interim Order (I) Authorizing Debtors to Pay (A) Critical Vendor Claims,
                    and (B) Lien Claims; and (II) Granting Related Relief (ECF No. 124)

          B.        Debtor’s Witness and Exhibit List for Hearing on January 23, 2023 (ECF
                    No. 307)

          C.        United States Trustee’s Witness and Exhibit List for January 23, 2023
                    Hearing (ECF No. 308)

          D.        Certificate of No Objection of Final Order (I) Authorizing Debtors to Pay
                    (A) Critical Vendor Claims and (B) Lien Claims; and (II) Granting Related
                    Relief (ECF No. 318)

       2. Emergency Motion of Debtors for Entry of an Order (I) Approving Debtors'
          Proposed Form of Adequate Assurance of Payment to Utility Companies; (II)
          Establishing Procedures for Resolving Objections By Utility Companies; (III)
          Prohibiting Utility Companies From Altering, Refusing, or Discontinuing
          Service; and (IV) Granting Related Relief (ECF No. 8)

          Status:          This matter is going forward on an uncontested basis.

          Related Document:

          A.        Order (I) Approving Debtors' Proposed Form of Adequate Assurance of
                    Payment to Utility Companies; (II) Establishing Procedures for Resolving
                    Objections by Utility Companies; (III) Prohibiting Utility Companies from
                    Altering, Refusing, or Discontinuing Service; and (IV) Granting Related
                    Relief (ECF No. 119)

          B.        Debtor’s Witness and Exhibit List for Hearing on January 23, 2023 (ECF
                    No. 307)

          C.        United States Trustee’s Witness and Exhibit List for January 23, 2023
                    Hearing (ECF No. 308)

          D.        Joint Stipulation and Agreed Order (I) Authorizing the Tennessee Valley
                    Authority to Retain and Use the Cash Deposit Maintained Under the Power
                    Contract and (II) Granting Related Relief (ECF No. 311)

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           E.        Certificate of No Objection of Order (I) Approving Debtors' Proposed Form
                     of Adequate Assurance of Payment to Utility Companies; (II) Establishing
                     Procedures for Resolving Objections by Utility Companies; (III)
                     Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
                     Service; and (IV) Granting Related Relief (ECF No. 319)

        3. Emergency Motion of Debtors for Entry of Interim and Final Orders (I)
           Authorizing Debtors to (A) Continue Their Existing Cash Management
           System, (B) Maintain Existing Business Forms and Intercompany
           Arrangements, (C) Continue Intercompany Transactions, and (D) Continue
           Utilizing Employee Credit Cards; and (II) Granting Related Relief (ECF No.
           12)

           Status:          This matter is going forward on an uncontested basis.

           Related Documents:

           A.        Notice of Filing of Revised Interim Order (I) Authorizing Debtors to (A)
                     Continue Their Existing Cash Management System, (B) Maintain Existing
                     Business Forms and Intercompany Arrangements, (C) Continue
                     Intercompany Transactions, and (D) Continue Utilizing Employee Credit
                     Cards; and (II) Granting Related Relief (ECF No. 55)

           B.        Interim Order (I) Authorizing Debtors to (A) Continue their Existing Cash
                     Management System, (B) Maintain Existing Business Forms and
                     Intercompany Arrangements, (C) Continue Intercompany Transactions, and
                     (D) Continue Utilizing Employee Credit Cards: and (II) Granting Related
                     Relief (ECF No. 115)

           C.        Debtor’s Witness and Exhibit List for Hearing on January 23, 2023 (ECF
                     No. 307)

           D.        United States Trustee’s Witness and Exhibit List for January 23, 2023
                     Hearing (ECF No. 308)

           E.        Certificate of No Objection of Final Order (I) Authorizing Debtors to (A)
                     Continue their Existing Cash Management System, (B) Maintain Existing
                     Business Forms and Intercompany Arrangements, (C) Continue
                     Intercompany Transactions, and (D) Continue Utilizing Employee Credit
                     Cards: and (II) Granting Related Relief (ECF No. 320)

II.   ADJOURNED MATTER:

        4. Emergency Motion of Debtors for Entry of Interim and Final Orders (A)
           Authorizing the Debtors to Obtain Postpetition Financing, (B) Authorizing the
           Debtors to Use Cash Collateral, (C) Granting Liens and Providing Claims with
           Superpriority Administrative Expense Status, (D) Granting Adequate
           Protection to the Prepetition Secured Parties, (E) Modifying the Automatic

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     Stay, (F) Scheduling a Final Hearing, and (G) Granting Related Relief (ECF
     No. 38)

     Status:          This matter has been adjourned to a hearing set for February 1, 2023
                      at 11:30 a.m. (CST).
     Responses:

     A.        Reservation of Rights and Limited Objection to Emergency Motion of
               Debtors For Entry of Interim and Final Orders (A) Authorizing the Debtors
               to Obtain Postpetition Financing, (B) Authorizing the Debtors to Use Cash
               Collateral, (C) Granting Liens and Providing Claims With Superpriority
               Administrative Expense Status, (D) Granting Adequate Protection to the
               Prepetition Secured Parties, (E) Modifying the Automatic Stay, (F)
               Scheduling a Final Hearing, and (G) Granting Related Relief (ECF No. 104)

     B.        Reservation of Rights and Limited Objection of Barings BDC, Inc., Barings
               Capital Investment Corporation, and Barings Private Credit Corp. to the
               Emergency Motion of Debtors for Entry of interim and Final Orders (A)
               Authorizing the Debtors to Obtain Postpetition Financing, (B) Authorizing
               the Debtors to Use Cash Collateral, (C) Granting Liens and Providing
               Claims With Superpriority Administrative Expense Status, (D) Granting
               Adequate Protection to the Prepetition Secured Parties, (E) Modifying the
               Automatic Stay, (F) Scheduling a Final Hearing, and (G) Granting Related
               Relief (ECF No. 291)

     C.        Joinder of MassMutual Asset Finance LLC to the Reservation of Rights and
               Limited Objection of Barings BDC, Inc., Barings Capital Investment
               Corporation, and Barings Private Credit Corp. (ECF No. 295)

     D.        Joinder of Trinity Capital Inc. to Reservation of Rights and Limited
               Objection of Barings BDC, Inc., Barings Capital Investment Corporation,
               and Barings Private Credit Corp. to the Debtors' Emergency DIP Motion
               (ECF No. 296)

     E.        Joinder in Reservation of Rights and Limited Objection of Barings BDC,
               Inc., Barings Capital Investment Corporation, and Barings Private Credit
               Corp. to the Emergency Motion of Debtors for Entry of interim and Final
               Orders (A) Authorizing the Debtors to Obtain Postpetition Financing,
               (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens
               and Providing Claims With Superpriority Administrative Expense Status,
               (D) Granting Adequate Protection to the Prepetition Secured Parties, (E)
               Modifying the Automatic Stay, (F) Scheduling a Final Hearing, and (G)
               Granting Related Relief (ECF No. 297)

     F.        BlockFi Lending LLC's (I) Limited Objection to Emergency Motion of
               Debtors for Entry of Interim and Final Orders (A) Authorizing the Debtors
               to Obtain Postpetition Financing, (B) Authorizing the Debtors to Use Cash
               Collateral, (C) Granting Liens and Providing Claims with Superpriority
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           Administrative Expense Status, (C) Granting Adequate Protection to the
           Prepetition Secured Parties, (E) Modifying the Automatic Stay, (F)
           Limited Objection of Barings BDC, Inc., Barings Capital Investment
           Corporation, and Barings Private Credit Corp. to the DIP Motion, and (III)
           Reservation of Rights (ECF No. 298)

     G.    Joinder of Anchorage Lending CA, LLC to Barings Reservation of Rights
           and Limited Objection to Debtor-In-Possession Financing (ECF No. 300)

     Related Documents:

     A.    Notice of Filing of Draft DIP Loan Agreement (ECF No. 96)

     B.    Notice of Filing of Initial Budget (ECF No. 97)

     C.    Declaration of John Singh in Support of Emergency Motion of Debtors for
           Entry of Interim and Final Orders (A) Authorizing the Debtors to Obtain
           Postpetition Financing, (B) Authorizing the Debtors to Use Cash Collateral,
           (C) Granting Liens and Providing Claims with Superpriority Administrative
           Expense Status, (D) Granting Adequate Protection to the Prepetition
           Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a Final
           Hearing, and (G) Granting Related Relief (ECF No. 98)

     D.    Notice of Filing of Revised Proposed DIP Order (ECF No. 108)

     E.    Notice of Filing of Second Revised Proposed DIP Order (ECF No. 128)

     F.    Interim Order (A) Authorizing the Debtors to Obtain Postpetition
           Financing, (B) Authorizing the Debtors to Use Cash Collateral, (C)
           Granting Liens and Providing Claims with Superpriority Administrative
           Expense Status, (D) Granting Adequate Protection to the Prepetition
           Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a Final
           Hearing, and (G) Granting Related Relief (ECF No. 130)

     G.    Notice of Corrections to DIP Credit Agreement (ECF No. 188)

     H.    Notice of Amended Dates and Deadlines with Respect to the DIP Loan
           Agreement (ECF No. 299)

     I.    Updated Notice of Amended Dates and Deadlines with Respect to the DIP
           Loan Agreement (ECF No. 306)

     J.    Debtor’s Witness and Exhibit List for Hearing on January 23, 2023 (ECF
           No. 307)

     K.    United States Trustee’s Witness and Exhibit List for January 23, 2023
           Hearing (ECF No. 308)


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Dated: January 22, 2023
       Houston, Texas

                                    Respectfully submitted,


                                     /s/ Alfredo R. Pérez
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                                   Proposed Attorneys for Debtors
                                   and Debtors in Possession




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                                    Certificate of Service

I hereby certify that on January 22, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                    /s/ Alfredo R. Pérez
                                                   Alfredo R. Pérez
